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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

MAXIEL DE LA GARZA,                               §
                                                  §
     Plaintiff,                                   §
                                                  §       Civil Action No. 4:24-cv-1903
v.                                                §
                                                  §
WELLS FARGO BANK, N.A.,                           §
                                                  §
     Defendant.                                   §

           DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS
            PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

         COMES NOW, Defendant Wells Fargo Bank, N.A., as Trustee for Option One Mortgage

Loan Trust 2007-FXD2 Asset-Backed Certificates Series 2007-FXD2 (“Defendant”), and

pursuant to Federal Rule of Civil Procedure 12(b)(6), files this its Reply in Support of its Motion

to Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6), and respectfully shows as

follows:

                                              REPLY

         A.       Plaintiff’s breach of contract claim is barred by the Statute of Frauds.

         1.       With respect to his breach of contract claim, Plaintiff argues that Defendant’s

alleged oral promise to place the account on loss mitigation hold for a 90-day period is not

subject to the statute of frauds. This is a misstatement of the law.

         2.       As Defendant asserted in its Motion to Dismiss, any modification to an existing

mortgage agreement must be in writing if the “modification encompasses or relates to a matter

that must be in writing.” Deuley v. Chase Home Finance, LLC, Civil Action No. H-05-04253,

2006 WL 1155230, at *2 (S.D. Tex., Apr. 26, 2006). When a purported oral modification relates

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to an original loan agreement that exceeds fifty thousand dollars, that oral modification must be

reduced to writing. Burnette v. Wells Fargo Bank, N.A., No. 4:09-cv-370, 2010 WL 1026968, at

*4 (E.D. Tex., Feb. 16, 2010).

       3.      Further, any alleged oral promise by a lender not to foreclose is subject to the

statute of frauds and must be reduced to writing to be enforceable. Chapa v. Chase Home

Finance LLC, No. C-10-359, 2010 WL 5186785 *4 n.3 (S.D. Tex., Dec. 15, 2010); Ellen v. F.H.

Partners, LLC, No. 03-09-00310-CV, 2010 WL 4909973 *6 (Tex. App.—Austin, Dec. 1, 2010,

no pet.) See, e.g., Law v. Ocwen Loan Servicing, L.L.C., 587 F. App'x 790, 794 (5th Cir.

2014) ("[B]ecause the loan agreement between Law and Ocwen for $284,000 was required to

satisfy the Statute of Frauds, so too was the proposed modification agreement. Because the loan

modification proposal failed to do so, it was not a valid contract upon which a claim of a breach

can be based."); Luebano v. Seterus, Inc., No. H-13-0079, 2013 U.S. Dist. LEXIS 44908, 2013

WL 12155019, at *1 (S.D. Tex. Mar. 28, 2013) ("Because there is no written agreement to

forbear collecting mortgage payments or delay foreclosure, the plaintiffs' breach of contract

claim was barred by the statute of frauds.").

       4.      Plaintiff in her Response offers no authority holding otherwise. Accordingly,

Defendant’s Motion to Dismiss should be granted.

       B.      Plaintiff’s promissory estoppel claim is barred by the Statute of Frauds.

       5.      Plaintiff in her Response argues that her promissory estoppel claim is not barred

by the statute of frauds because the unnamed SLS representative promised to memorialize their

oral agreement in writing. This is a misstatement of the law.

       6.      As Defendant asserted in its Motion, promissory estoppel requires that “the

agreement that is the subject of the promise must comply with the statute of frauds. That is, the


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agreement must be in writing at the time of the oral promise to sign it.” Sullivan v. Leor Energy,

LLC, 600 F.3d 542, 549 (5th Cir. 2010) (citing Exxon Corp. v. Breezevale Ltd., 82 S.W.3d 429,

438 (Tex. App.—Dallas 2002, pet. denied)).

       7.      “Furthermore, a claim of promissory estoppel generally cannot be used to

 circumvent the statute of frauds.” Johnson v. Wilmington Trust, N.A., No. H-18-489, 2019 U.S.

 Dist. LEXIS 99444, 2019 WL 2453448, at *22 (S.D. Tex. May 16, 2019). A claim for

 promissory estoppel can only survive the statute of frauds if the promise is “to sign an already

 existing written agreement that would satisfy the statute of frauds.” Martins v. BAC Home

 Loans Servicing, L.P., 722 F.3d 249, 256-57 (5th Cir. 2013); 1001 McKinney Ltd. Credit Suisse

 First Boston Mortgage Capital, 192 S.W.3d 20, 29 (Tex. App.—Houston [14th Dist.] 2005, pet.

 denied)("A mere promise to prepare a written contract is not sufficient."); Stolts v. Wells Fargo

 Bank, N.A., 31 F.Supp.3d 876, 881 n.4 (S.D.Tex. 2014) (dismissing promissory-estoppel claim

 because a promise that a loan modification was "under consideration" is too indefinite and

 vague).

       8.      Thus, Plaintiff's promissory estoppel claim fails as a matter of law. A mere

 allegation that plaintiff was told that an oral agreement would later be memorialized is

 insufficient. Diaz v. Deutsche Bank, No. 5:14-CV-121, 2015 U.S. Dist. LEXIS 182834 *9-10

 (S.D. Tex. Sept. 10, 2015). Plaintiff offers nothing in her pleading, nor argument in her

 Response, that any writing ever existed. Accordingly, Defendant’s Motion should be granted.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that its Motion to

Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6) be granted, that each of Plaintiff’s

claims as set forth above be dismissed with prejudice, and that Defendant be awarded all other

relief to which it may be entitled.


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                                           Respectfully submitted,

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                             CERTIFICATE OF SERVICE

     The undersigned certifies that on June 21, 2024, a true and correct copy of the foregoing
document was delivered via ECF notification to the counsel of record listed below:

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